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                    UNITED STATES COURT OF APPEALS                          FILED
                            FOR THE NINTH CIRCUIT                            JUN 12 2025
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
GAVIN NEWSOM, In his official capacity           No. 25-3727
as Governor of the State of California and
                                                 D.C. No.
STATE OF CALIFORNIA,                             3:25-cv-04870-CRB
                                                 Northern District of California,
             Plaintiffs - Appellees,             San Francisco
 v.                                              ORDER

DONALD J. TRUMP, in his official
capacity as President of the United States; et
al.,

             Defendants - Appellants.

Before: BENNETT, MILLER, and SUNG, Circuit Judges.

       The court has received the government’s emergency motion for stay pending

appeal. Dkt. No. 5. The request for an administrative stay is GRANTED. The

district court’s June 12, 2025 temporary restraining order is temporarily stayed

pending further order. See Doe #1 v. Trump, 944 F.3d 1222, 1223 (9th Cir. 2019).

       The response to the emergency motion is due June 15, 2025 at 9:00 AM PDT.

The optional reply in support of the emergency motion is due June 16, 2025 at 9:00

AM PDT.

       The panel will hold a remote hearing by Zoom on June 17, 2025 at 12:00 PM

PDT.
